UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF NORTH CAROLINA

NHU TRAN, Individually and on Behalf
of All Others Similarly Situated,

Case No.
CLASS ACTION COMPLAINT FOR

VIOLATIONS OF SECTIONS 14(a)
AND 20(a) OF THE SECURITIES

Plaintiff,
Vv.

CEMPRA, INC., GARHENG KONG,

DAVID ZACCARDELLI, MICHAEL EXCHANGE ACT OF 1934
R. DOUGHERTY, DAVID GILL, DOV
A. GOLDSTEIN, JOHN H. JOHNSON, JURY TRIAL DEMANDED

RICHARD KENT, and P. SHERRILL
NEFF,

Defendants.

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Plaintiff Nhu Tran (“Plaintiff”), by and through his undersigned attorneys, brings
this stockholder class action on behalf of himself and all other similarly situated public
stockholders of Cempra, Inc. (“Cempra” or the “Company”) against Cempra, Garheng
Kong, David Zaccardelli, Michael R. Dougherty, David Gill, Dov A. Goldstein, J ohn H.
Johnson, Richard Kent, and P. Sherrill Neff, the members of Cempra’s board of directors
(collectively, the “Board” or “Individual Defendants,” and, together with Cempra, the
“Defendants”) for violations of Sections 14(a) and 20(a) of the Securities Exchange Act of
1934 (the “Exchange Act”), 15 U.S.C. §§ 78n(a), 78t(a), and SEC Rule 14a-9, 17 C.F.R.
240.14a-9, and Regulation G, 17 C.F.R. § 244.100, in connection with the proposed merger
between Cempra and Melinta Therapeutics, Inc. (“Melinta”) through a merger transaction
as alleged in detail herein (“Proposed Transaction”). Plaintiff alleges the following based

upon information and belief, including the investigation of Counsel, as to all other matters.

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NATURE OF THE ACTION

1. On August 9, 2017, Cempra announced that it had entered into an Agreement
and Plan of Merger (the “Merger Agreement”), under which Castle Acquisition Corp., a
wholly owned subsidiary of Cempra, will merge with and into Melinta, with Melinta
surviving the merger as a wholly owned subsidiary of Cempra. Under the terms of the
Merger Agreement, Melinta shareholders will be converted into the right to receive shares
of Cempra’s common stock in an amount equal to the exchange ratio pursuant to the
Merger Agreement (the “Merger Consideration”).! Upon completion of the Proposed
Transaction, former Melinta stockholders are expected to own approximately 51.9% of
post-close Cempra, while former Cempra stockholders are expected to own approximately
48.1%. In addition, post-close Cempra will be renamed “Melinta Therapeutics, Inc.” and
traded on the NASDAQ under the symbol “MLNT.”

2. Defendants have violated the above-referenced Sections of the Exchange Act
by causing a materially incomplete and misleading Schedule 14A Definitive Proxy
Statement (the “Proxy Statement”) to be filed with the Securities and Exchange
Commission (“SEC”) on September 7, 2017. The Cempra Board recommends in the Proxy
Statement that Cempra stockholders vote in favor of approving Proposed Transaction at a
stockholder special meeting that will be held at an undetermined in the near future and

agree to exchange their shares pursuant to the terms of the Merger Agreement based among

 

1 Melinta shareholders who do not meet the definition of an “accredited investor” under applicable federal
securities laws will instead receive a per-share cash payment based on the closing price of Cempra common
stock on the closing date of the merger multiplied by the agreed upon exchange ratio.

 

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other things on internal and external factors examined by the Board to make its
recommendation and an opinion rendered by the Company’s financial advisor, Morgan
Stanley & Co. LLC (“Morgan Stanley”).

3. The Merger Consideration and the process by which Defendants agreed to
consummate the Proposed Transaction are fundamentally unfair to Cempra’s common
stockholders.

4. As discussed further below, little real effort was made to engage in a true
market check to find other parties interested in a strategic transaction with the Company to
maximize value for Cempra stockholders. The inadequate Merger Consideration reflects
the lack of effort as it does not reflect the value of the Company or the fair value of Cempra
stock.

5. To ensure the success of the Proposed Transaction, the Board issued the
Proxy Statement that fails to provide all material information. In particular, the Proxy
Statement does not include a fair summary of the financial analyses performed by Morgan
Stanley and fails to disclose the projections for Cempra (including a GAAP to Non-GAAP
reconciliation mandated by the SEC).

6. For these reasons and as set forth in detail herein, Plaintiff seeks to enjoin
Defendants from consummating the Proposed Transaction or in the event the Proposed
Transaction is consummated, recover damages resulting from the Individual Defendants’

violations Sections 14(a) and 20(a) of the Exchange Act.

 

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PARTIES

7. Plaintiffs is, and at all relevant times has been, a shareholder of Cempra.

8. Defendant Cempra is a Delaware corporation and maintains its principal
executive offices at 6320 Quadrangle Drive, Building Two, Suite 360, Chapel Hill, North
Carolina 27617. The Company operates as a clinical-stage pharmaceutical company and
focuses on developing antibacterials to meet critical medical needs. Cempra’s common
stock is listed and traded on the NASDAQ under the ticker symbol “CEMP.”

9. Individual Defendant Garheng Kong has served on the Board and as
Chairman of the Board since 2008.

10. Individual Defendant David Zaccardelli is a director of Cempra and has
served as the Company’s Chief Executive Officer (“CEO”) since 2016.

11. Individual Defendant Michael R. Dougherty is, and has been since 2013, a
Cempra director.

12. Individual Defendant David Gill is, and has been since 2012, a Cempra
director.

13. Individual Defendant Dov A. Goldstein is, and has been since 2008, a
Cempra director.

14. Individual Defendant John J. Johnson is, and has been since 2009, a Cempra
director.

15. Individual Defendant Richard Kent is, and has been since 2015, a Cempra
director.

16. Individual Defendant P. Sherrill Neff is, and has been since 2011, a Cempra

 

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director.

17. The parties in paragraphs 9-16 are referred to herein as the “Individual

Defendants” and/or the “Board,” collectively with Cempra the “Defendants.”
JURISDICTION AND VENUE

18. This Court has subject matter jurisdiction pursuant to Section 27 of the
Exchange Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1331 (federal question jurisdiction) as
Plaintiff alleges violations of Section 14(a) and 20(a) of the Exchange Act.

19. Personal jurisdiction exists over each Defendant either because the
Defendant conducts business in or maintains operations in this District, or is an individual
who is either present in this District for jurisdictional purposes or has sufficient minimum
contacts with this District as to render the exercise of jurisdiction over Defendant by this
Court permissible under traditional notions of fair play and substantial justice.

20. | Venue is proper in this District under Section 27 of the Exchange Act, 15
U.S.C. § 78aa, as well as under 28 U.S.C. § 1391, because: (i) the conduct at issue took
place and had an effect in this District; (ii) Cempra maintains its primary place of business
in this District; (iii) a substantial portion of the transactions and wrongs complained of
herein, including Defendants’ primary participation in the wrongful acts detailed herein,
occurred in this District; and (iv) Defendants have received substantial compensation in
this District by doing business here and engaging in numerous activities that had an effect

in this District.

 

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SUBSTANTIVE ALLEGATIONS

I. Company Background the Proposed Transaction
21. | Cempra describes itself as a clinical-stage pharmaceutical company focused
on developing differentiated anti-infectives for the acute care and community settings to
meet critical medical needs in the treatment of infectious diseases. To date, Cempra’s focus
has been the development of solithromycin for the treatment of community-acquired

bacterial pneumonia (“CABP”), one of the most serious infections of the respiratory tract

in adults and children, as well as for ophthalmic infections and other indications.”

22. On August 9, 2017, Cempra issued a press release announcing the Proposed

Transaction. The press release stated, in relevant part:

CEMPRA AND MELINTA ANNOUNCE MERGER TO FORM
LEADING, VERTICALLY INTEGRATED COMMERCIAL-
STAGE ANTI-INFECTIVES COMPANY

—Broad pipeline and resources provide multiple opportunities to
drive long-term value creation—

—Merger lays strong foundation for launch of recently FDA-
approved Baxdela™ (delafloxacin)—

—Management to host webcast and conference call
today at 8:45 a.m. ET—

CHAPEL HILL, N.C. and NEW HAVEN, Conn.— August 9,
2017— Cempra, Inc. (Nasdaq: CEMP), a clinical-stage pharmaceutical
company focused on developing differentiated anti-infectives for
acute care and community settings to meet critical medical needs in
the treatment of infectious diseases, and Melinta Therapeutics, a
privately held company focused on discovering, developing, and
commercializing novel antibiotics to treat serious bacterial infections,

 

2 Cempra, Inc., Preliminary Proxy Statement (Form PREM14A) (September 7, 2017).

 

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today announced that the companies have entered into a definitive
agreement under which Melinta will merge with a subsidiary of
Cempra. The merger is expected to create a NASDAQ-listed
company committed to discovering, developing and commercializing
important anti-infective therapies for patients and physicians in areas
of significant unmet need.

“The combined company’s extensive pipeline, including commercial,
clinical and preclinical stage anti-infective programs with multiple
products in development across several indications, provides an
exceptional platform to deliver potential long-term growth and value
for shareholders,” said David Zaccardelli, Pharm.D., acting chief
executive officer of Cempra.

“We are excited to merge Melinta with Cempra, bringing together an
unrivaled set of assets and opportunities,” said Eugene Sun, M.D.,
chief executive officer of Melinta.

“This transaction creates a leading antibiotics company to drive the
commercial launch of Baxdela, and build over time by developing
market-leading pipeline assets meeting the tremendous need for novel
antibiotics that treat serious infections,” added John Temperato,
president and chief operating officer of Melinta.

In June 2017, the U.S. Food and Drug Administration (FDA)
approved Baxdela in adults for the treatment of acute bacterial skin
and skin structure infections (ABSSSI) caused by susceptible bacteria.
Baxdela is a fluoroquinolone that exhibits activity against both gram-
positive and gram-negative pathogens, including MRSA (methicillin-
resistant Staphylococcus aureus), and is indicated to start patients on
either intravenous (IV) or oral formulations. Baxdela has been
designated a Qualified Infectious Disease Product (QIDP) by the FDA
and as such, qualifies for an additional five years of marketing
exclusivity to be added to the five year exclusivity period provided by
the Food, Drug, and Cosmetic Act. Melinta is also evaluating Baxdela
in an ongoing Phase 3 study in patients with community-acquired
bacterial pneumonia (CABP) and plans to initiate a clinical trial in
patients with complicated urinary tract infections (CUTI). Baxdela is
not currently FDA approved for the treatment of CABP or cUTI.

Beyond the commercial launch and potential label expansion of
Baxdela, the combined company will continue to pursue important
pipeline opportunities. Cempra is actively engaged with potential

 

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government and industry partners to identify non-dilutive funding to
support the execution of a clinical safety study to support a response
to the complete response letter (CRL) for its oral solithromycin new
drug application (NDA) for CABP. Cempra also has an ongoing
ophthalmic development program for solithromycin and is
completing preclinical work to support a potential IND filing in 2018
with the FDA. Fusidic acid for ABSSSI continues to progress after
completion of a successful Phase 3 study with a clear path to NDA
submission. Radezolid, a next-generation oxazolidinone discovered
by Melinta using its technology platform, is nearing Phase 1
completion in acne vulgaris, with potential for expansion to additional
indications. Radezolid, which is being developed with a partner,
represents the first novel antibiotic in the acne space in more than 30
years, and has potent activity against acne-causing pathogens,
including resistant strains. Melinta is also actively progressing
compounds within its ESKAPE pathogen program. Using a
technology platform based on Nobel Prize-winning science that is
licensed from Yale, Melinta has built an entirely new class of
antibiotics targeting ESKAPE pathogens, the “superbugs” causing
significant mortality risk to patients affected, and intends to nominate
a clinical candidate from this program in 2018.

[...]
Details of the Proposed Transaction

On a pro forma basis, and based upon the number of shares of Cempra
common stock to be issued in the merger, current Cempra
shareholders will own approximately 48 percent of the combined
company and current Melinta shareholders will own approximately
52 percent of the combined company. The transaction has been
approved by the board of directors of both companies. The merger is
expected to close in the fourth quarter of 2017, subject to the approval
of the stockholders of each company as well as other customary
conditions.

Management and Organization

The combined company, which will be named Melinta Therapeutics,
will bring together a deep bench of management talent from both
companies. The board of directors of the combined company will
have nine seats, with four appointed by Cempra and four appointed
by Melinta, together with a newly appointed CEO. Cempra and

 

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Melinta will work together through a joint selection committee to
identify the CEO leadership of the combined company, who will be
able to build on strong experience and the shared vision of the board
to continue growing one of the world’s leading anti-infectives
companies. Melinta will designate the Chairman of the combined
company board.

23. | Cempra’s stock has demonstrated significant growth during 2017. Cempra
stockholders should be provided with sufficient financial information in the Proxy

Statement to make an informed decision regarding the Proposed Transaction.

CEMP Cempra, Inc. Nasdag GM © StockCharts.com
34-Jul-2047 Open 4.20 High 4.20 Low 3.95 Last 4.00 Volume 686.0K Chg -0.15 ¢3.61%) ~
i CEMP (Daily) 4,00 (34 Jul) 4.80

    

       

2017 9 #17 23 ~Febé 13 21 Maré 13 20 27 Apr 10 17 24 May 8 15 22 Jum 12 19 26 Julio 147 24 34

24. | Cempra’s stock is poised for growth. On January 23, 2017, Zacks Equity
Research, a leading investment research firm, identified Cempra as a “winning stock” that
was “well positioned for a solid gain.”*

25. | Cempra’s fourth quarter 2016 results, released on February 28, 2017, were

 

> Cempra, Inc., Current Report (Form 8-K), at Exhibit 99.1 (Press Release Announcing Merger with Melinta
Therapeutics, Inc.) (August 9, 2017).

4 Cempra (CEMP): An Off-the-Radar Potential Winner, ZACKS EQUITY RESEARCH (January 23, 2017),
available at https://www.zacks.com/stock/news/246387/cempra-cemp-an-offtheradar-potential-winner.

 

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very positive and illustrated the Company’s growth potential. Notably, the Company
reported a 36.2% increase when compared to the same time period in 2016—$7.9 million
in 2016, verse $5.7 million in 2015.°

26. Likewise, Cempra’s first quarter 2017 results, released April 28, 2017, were
positive. In fact, Cempra reported an 82% increase in revenue when compared to the same
time period in 2016—$4.9 million in 2017, verse $2.7 million in 2016.

27. | The Merger Consideration offered to Cempra’s public stockholders in the
Proposed Transaction is unfair and inadequate because, among other things, the intrinsic
value of the Company’s common stock is materially in excess of the exchange ratio offered
in the Proposed Transaction given the Company’s prospects for future growth and earnings.
The Proposed Transaction will deny Class members their right to fully share equitably in
the true value of the Company.

II. The Materially Incomplete and Misleading Proxy

28. On September 7, 2017, Cempra filed the Proxy with the SEC in connection
with the Proposed Transaction. The Proxy Statement solicits the Company’s shareholders
to vote in favor of the Proposed Transaction. The Individual Defendants were obligated to
carefully review the Proxy Statement before it was filed with the SEC and disseminated to
the Company’s shareholders to ensure that it did not contain any material

misrepresentations or omissions. However, the Proxy Statement misrepresents and/or

 

5 Cempra revenues up 36% in Q4, SEEKING ALPHA (February 28, 2017), available at
https://seekingalpha.com/news/3247 1 58-cempra-revenues-36-percent-q4.

 

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omits material information that is necessary for the Company’s shareholders to make an
informed decision concerning whether to vote in favor of the Proposed Transaction, in
violation of Sections 14(a) and 20(a) of the Exchange Act.

29. First, the Proxy Statement fails to provide material information concerning
the Company’s financial projections. Specifically, the Proxy Statement provides
projections for the non-GAAP metric EBIT, but fails to provide line item projections for
the metrics used to calculate EBIT or otherwise reconcile the non-GAAP projections to
GAAP. See Proxy Statement 93-102.

30. When a company discloses information in a proxy statement that includes
non-GAAP financial measures, the company must also disclose comparable GAAP
measures and a quantitative reconciliation of forward-looking information. 17 C.F.R. §
244.100.

31. Indeed, the SEC has recently increased its scrutiny of the use of non-GAAP
financial measures in communications with shareholders. The SEC Chairwoman, Mary Jo
White, recently stated that the frequent use by publicly traded companies of unique
company-specific non-GAAP financial measures (as Cempra has included in the Proxy
here), implicates the centerpiece of the SEC’s disclosures regime:

In too many cases, the non-GAAP information, which is meant to
supplement the GAAP information, has become the key message to
investors, crowding out and effectively supplanting the GAAP
presentation. Jim Schnurr, our Chief Accountant, Mark Kronforst,
our Chief Accountant in the Division of Corporation Finance and I,
along with other members of the staff, have spoken out frequently
about our concerns to raise the awareness of boards, management and

investors. And last month, the staff issued guidance addressing a
number of troublesome practices which can make non-GAAP

 

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disclosures misleading: the lack of equal or greater prominence for

GAAP measures; exclusion of normal, recurring cash operating

expenses; individually tailored non-GAAP revenues; lack of

consistency; cherry-picking; and the use of cash per share data. |

strongly urge companies to carefully consider this guidance and

revisit their approach to non-GAAP disclosures. I also urge again, as

I did last December, that appropriate controls be considered and that

audit committees carefully oversee their company’s use of non-GAAP

measures and disclosures.°

32.  Inrecent months, the SEC has repeatedly emphasized that disclosure of non-

GAAP projections can be inherently misleading, and has therefore heighted its scrutiny of
the use of such projections.’ Indeed, on May 17, 2016, the SEC’s Division of Corporation
Finance released new and updated Compliance and Disclosure Interpretations (““C&DIs”)
on the use of non-GAAP financial measures that demonstrate the SEC’s tightening policy.*
One of the new C&DIs regarding forward-looking information, such as financial
projections, explicitly requires companies to provide any reconciling metrics that are
available without unreasonable efforts.

33. The above-referenced line item projections that have been omitted from the

Proxy Statement are precisely the types of “reconciling metrics” that the SEC has recently

 

6 Mary Jo White, Chair, U.S. Securities and Exchange Commission, Maintaining High-Quality, Reliable
Financial Reporting: A Shared and Weighty  Responsibility(Dec. 9, 2015), available
at https://www.sec.gov/news/speech/keynote-20 1 5-aicpa-white.html.

” See, e.g., Nicolas Grabar and Sandra Flow, Non-GAAP F inancial Measures: The SEC’s Evolving Views,
Harvard Law School Forum on Corporate Governance and Financial Regulation (June 24, 2016),
https://corpgov.law.harvard.edu/20 16/06/24/non- gaap-financial-measures-the-secs-evolving-views/;
Gretchen Morgenson, Fantasy Math Is Helping Companies Spin Losses Into Profits, N.Y. Times, Apr. 22,
2016, http://www.nytimes.com/
2016/04/24/business/fantasy-math-is-helping-companies-spin-losses-into-profits.html?_1=0.

8 Non-GAAP. Financial Measures, Compliance & Disclosure Interpretations, U.S. SECURITIES AND
EXCHANGE COMMISSION (May 17, 2017),
https://www.sec.gov/divisions/corpfin/guidance/nongaapinterp.htm.

 

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indicated should be disclosed to render non-GAAP financial projections not misleading to
shareholders.

34. The omission of the line item projections used to calculate the various non-
GAAP measures included in the Proxy Statement and/or the most directly comparable
GAAP measures, renders the projections included on pages 93 through 102 of the Proxy
Statement materially incomplete and misleading.

35. Indeed, financial experts agree that projections for Non-GAAP EBIT, which
are included in the Proxy here, and EBITDA are not a sufficient substitute for Net Income
when attempting to understand the value of a company. As Warren Buffet and other
financial experts have stated: “References to EBITDA make us shudder. Too many
investors focus on earnings before interest, taxes, depreciation and amortization. That
makes sense, only if you think capital expenditures are funded by the tooth fairy.””

36. Relying solely on EBIT, which is included in the Proxy Statement here, is
not a sufficient substitute for Net Income when attempting to understand the to provide a
fair summary of a company’s financial prospects has numerous pitfalls. EBIT does not
take into account any capital expenditures, working capital requirements, current debt
payments, taxes, or other fixed costs which are critical to understanding a company’s value.
In fact, because the material differences between EBIT and Net Income, the SEC has

explicitly required that EBIT and EBITDA both be reconciled to Net Income, because it is

 

7 Elizabeth MacDonald, The Ebitda _ folly, FORBES (March 17, 2003),
http://www. forbes.com/global/2003/0317/024.html.

 

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the most directly comparable financial measure in accordance with GAAP.!° Disclosing
EBIT projections without GAAP reconciliation to Net Income is therefore inherently
misleading.

37. If corporate directors and officers choose to disclose financial projections in
a proxy statement, they must provide complete and accurate projections, not merely
excerpts of certain sets or line items of projections. The question here is not the duty to
speak, but liability for not having spoken enough. With regard to future events, uncertain
figures, and other so-called soft information, a company may choose silence or speech
elaborated by the factual basis as then known—but it may not choose half-truths.

38. The Proxy Statement also fails to provide sufficient information for
shareholders to assess the valuation analyses performed by Morgan Stanley in support of
its fairness opinion.

39. With respect to Morgan Stanley’s Cempra Discounted Cash Flow Analysis
and Melinta’s Discounted Cash Flow Analysis, the Proxy Statement fails to disclose the
inputs and assumptions underlying the discount ranges used in Morgan Stanley’s analyses
to calculate the weighted average cost of capital. The omission of this material financial
information renders the summary of Morgan Stanley’s Cemp Cempra Discounted Cash
Flow Analysis and Melinta’s Discounted Cash Flow Analysis on pages 85 through 86 of
the Proxy Statement and the Implied Value Per Share Range set forth therein incomplete

and misleading.

 

10 See C&DI Question 103.02.

 

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40. Indeed, as a highly-respected professor explained in one of the most thorough
law review articles regarding the fundamental flaws with the valuation analyses bankers
perform in support of fairness opinions, in a discounted cash flow analysis a banker takes
management’s forecasts, and then makes several key choices “each of which can
significantly affect the final valuation.” Steven M. Davidoff, Fairness Opinions, 55 Am.
ULL. Rev. 1557, 1576 (2006). Such choices include “the appropriate discount rate, and the
terminal value...” Id. As Professor Davidoff explains:

There is substantial leeway to determine each of these, and any
change can markedly affect the discounted cash flow value. For
example, a change in the discount rate by one percent on a stream
of cash flows in the billions of dollars can change the discounted
cash flow value by tens if not hundreds of millions of
dollars....This issue arises not only with a discounted cash flow
analysis, but with each of the other valuation techniques. This
dazzling variability makes it difficult to rely, compare, or analyze
the valuations underlying a fairness opinion unless full disclosure
is made of the various inputs in the valuation process, the weight
assigned for each, and the rationale underlying these choices. The
substantial discretion and lack of guidelines and standards also makes
the process vulnerable to manipulation to arrive at the “right” answer
for fairness. This raises a further dilemma in light of the conflicted
nature of the investment banks who often provide these opinions. Jd.
at 1577-78.

41. Similarly, the Proxy Statement fails to disclose the Net Operating Losses
(“NOLs”) for Cempra and Melinta. See Proxy Statement 85-86. Here, the existing NOLs
are not being included in the standalone Discounted Cash Flow Analysis and Melinta’s
Discounted Cash Flow Analysis, but this information is material since it exists and,
therefore, should be disclosed to Cempra shareholders. As Professor Davidoff discussed

above, the rationale to exclude certain inputs—Cempra’s and Melinta’s NOLs—from the

 

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DCF analyses is equally as important as the decision to include the same inputs and, in its
absence, omits material information. Accordingly, the omission of this material
information renders the summary of Morgan Stanley’s DCF analyses on pages 85 through
86 of the Proxy Statement and implied equity value set forth therein materially incomplete
and misleading.

42. Lastly, with respect to the Equity Research Analyst Price Targets section, the
Proxy Statement notes that seven equity research analysts set price targets for undiscounted
price targets for shares of Cempra common stock between $2.00 and $9.00. Proxy
Statement 89. However, the Proxy Statement fails to disclose the identities and the
individual price targets comprising the range. The absence of this information forces
shareholders to blindly rely on the seven equity analysts referenced simply because they
were published on Bloomberg. Moreover, merely providing shareholders with the high
and low price targets only illustrates the scope of the range without giving any indication
of an “average price” among these seven, unknown analysts and the potential concentration
of target pricing among these individuals. As a result, the omission of this information
renders the vague reference to the equity analysts price targets on page 89 of the Proxy
Statement materially incomplete and misleading.

43. In sum, the omission of the above-referenced information renders statements
in the Proxy Statement materially incomplete and misleading in contravention of the
Exchange Act. Absent disclosure of the foregoing material information prior to the special
shareholder meeting to vote on the Proposed Transaction, Plaintiff and the other members

of the Class will be unable to make a fully-informed decision regarding whether to vote in

 

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favor of the Proposed Transaction, and they are thus threatened with irreparable harm,
warranting the injunctive relief sought herein.
CLASS ACTION ALLEGATIONS

44. Plaintiff brings this class action pursuant to Fed. R. Civ. P. 23 on behalf of
himself and the other public shareholders of Cempra (the “Class”). Excluded from the
Class are Defendants herein and any person, firm, trust, corporation, or other entity related
to or affiliated with any Defendant.

45. This action is properly maintainable as a class action because the Class is so
numerous that joinder of all members is impracticable. As of August 2, 2017, there were
approximately 52.51 million shares of Cempra common stock outstanding, held by
hundreds to thousands of individuals and entities scattered throughout the country. The
actual number of public shareholders of Cempra will be ascertained through discovery.

46. | There are questions of law and fact that are common to the Class that
predominate over any questions affecting only individual members, including the
following:

a. whether Defendants have misrepresented or omitted material information
concerning the Proposed Transaction in the Proxy Statement in violation of
Section 14(a) of the Exchange Act;

b. whether the Individual Defendants have violated Section 20(a) of the
Exchange Act; and

c. whether Plaintiff and other members of the Class will suffer irreparable harm

if compelled to vote their shares regarding the Proposed Merger based on the

 

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materially incomplete and misleading Proxy.

47. Plaintiff is an adequate representative of the Class, has retained competent
counsel experienced in litigation of this nature and will fairly and adequately protect the
interests of the Class.

48.  Plaintiff’s claims are typical of the claims of the other members of the Class
and Plaintiff does not have any interests adverse to the Class.

49. The prosecution of separate actions by individual members of the Class
would create a risk of inconsistent or varying adjudications with respect to individual
members of the Class, which would establish incompatible standards of conduct for the
party opposing the Class.

50. Defendants have acted on grounds generally applicable to the Class with
respect to the matters complained of herein, thereby making appropriate the relief sought
herein with respect to the Class as a whole.

51. Acclass action is superior to other available methods for fairly and efficiently
adjudicating the controversy. Plaintiff knows of no difficulty to be encountered in the
management of this action that would preclude maintenance as a class action.

COUNT I

(Against All Defendants for Violations of Section 14(a) of the Exchange Act and
Rule 14a-9 and 17 C.F.R. § 244.100 Promulgated Thereunder)

52. Plaintiff incorporates each and every allegation set forth above as if fully set
forth herein.

53. Section 14(a)(1) of the Exchange Act makes it “unlawful for any person, by

 

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the use of the mails or by any means or instrumentality of interstate commerce or of any
facility of a national securities exchange or otherwise, in contravention of such rules and
regulations as the Commission may prescribe as necessary or appropriate in the public
interest or for the protection of investors, to solicit or to permit the use of his name to solicit
any proxy or consent or authorization in respect of any security (other than an exempted
security) registered pursuant to section 781 of this title.” 15 U.S.C. § 78n(a)(1).

$4. Rule 14a-9, promulgated by the SEC pursuant to Section 14(a) of the
Exchange Act, provides that proxy communications with shareholders shall not contain
“any statement which, at the time and in the light of the circumstances under which it is
made, is false or misleading with respect to any material fact, or which omits to state any
material fact necessary in order to make the statements therein not false or misleading.” 17
C.F.R. § 240.14a-9.

55. SEC Regulation G has two requirements: (1) a general disclosure
requirement; and (2) a reconciliation requirement. The general disclosure requirement
prohibits “mak[ing] public a non-GAAP financial measure that, taken together with the
information accompanying that measure, contains an untrue statement of a material fact or
omits to state a material fact necessary in order to make the presentation of the non-GAAP
financial measure...not misleading.” 17 C.F.R. § 244.100(b). The reconciliation
requirement requires an issuer that chooses to disclose a non-GAAP measure to provide a
presentation of the “most directly comparable” GAAP measure, and a reconciliation “by
schedule or other clearly understandable method” of the non-GAAP measure to the “most

directly comparable” GAAP measure. 17 C.F.R. § 244.100(a). As set forth above, the

 

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Proxy Statement omits information required by SEC Regulation G, 17 C.F.R. § 244.100.

56. | The omission of information from a proxy statement will violate Section
14(a) and Rule 14a-9 if other SEC regulations specifically require disclosure of the omitted
information.

57. Defendants have issued the Proxy Statement with the intention of soliciting
shareholder support for the Proposed Transaction. Each of the Defendants reviewed and
authorized the dissemination of the Proxy Statement, which fails to provide critical
information regarding, amongst other things: (i) the background to the Proposed
Transaction; (ii) financial projections for the Company; and (iii) the valuation analyses
performed by the Company’s financial advisor.

58. In so doing, Defendants made untrue statements of fact and/or omitted
material facts necessary to make the statements made not misleading. Each of the
Individual Defendants, by virtue of their roles as officers and/or directors, were aware of
the omitted information but failed to disclose such information, in violation of Section
14(a). The Individual Defendants were therefore negligent, as they had reasonable grounds
to believe material facts existed that were misstated or omitted from the Proxy Statement,
but nonetheless failed to obtain and disclose such information to shareholders although
they could have done so without extraordinary effort.

59. The Individual Defendants knew or were negligent in not knowing that the
Proxy Statement is materially misleading and omits material facts that are necessary to
render it not misleading. The Individual Defendants undoubtedly reviewed and relied upon

most if not all of the omitted information identified above in connection with their decision

 

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to approve and recommend the Proposed Transaction; indeed, the Proxy Statement states
that Morgan Stanley reviewed and discussed their financial analyses with the Board, and
further states that the Board considered both the financial analyses provided by Morgan
Stanley as well as its fairness opinion and the assumptions made and matters considered in
connection therewith. Further, the Individual Defendants were privy to and had knowledge
of the projections for the Company and the details surrounding the process leading up to
the signing of the Merger Agreement. The Individual Defendants knew or were negligent
in not knowing that the material information identified above has been omitted from the
Proxy Statement, rendering the sections of the Proxy Statement identified above to be
materially incomplete and misleading. Indeed, the Individual Defendants were required to
review Morgan Stanley’s analyses in connection with their receipt of the fairness opinions,
question Morgan Stanley as to its derivation of fairness, and be particularly attentive to the
procedures followed in preparing the Proxy Statement and review it carefully before it was
disseminated, to corroborate that there are no material misstatements or omissions.

60. The Individual Defendants were, at the very least, negligent in preparing and
reviewing the Proxy Statement. The preparation of a proxy statement by corporate insiders
containing materially false or misleading statements or omitting a material fact constitutes
negligence. The Individual Defendants were negligent in choosing to omit material
information from the Proxy Statement or failing to notice the material omissions in the
Proxy Statement upon reviewing it, which they were required to do carefully as the
Company’s directors. Indeed, the Individual Defendants were intricately involved in the

process leading up to the signing of the Merger Agreement and the preparation of the

 

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Company’s financial projections.

61. | Cempra is also deemed negligent as a result of the Individual Defendants’
negligence in preparing and reviewing the Proxy Statement.

62. The misrepresentations and omissions in the Proxy Statement are material to
Plaintiff and the Class, who will be deprived of their right to cast an informed vote if such
misrepresentations and omissions are not corrected prior to the vote on the Proposed
Transaction. Plaintiff and the Class have no adequate remedy at law. Only through the
exercise of this Court’s equitable powers can Plaintiff and the Class be fully protected from
the immediate and irreparable injury that Defendants’ actions threaten to inflict.

COUNT I

(Against the Individual Defendants for Violations of Section 20(a) of the Exchange
Act)

63. Plaintiff incorporates each and every allegation set forth above as if fully set
forth herein.

64. The Individual Defendants acted as controlling persons of Cempra within the
meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their
positions as officers and/or directors of Cempra, and participation in and/or awareness of
the Company’s operations and/or intimate knowledge of the incomplete and misleading
statements contained in the Proxy Statement filed with the SEC, they had the power to
influence and control and did influence and control, directly or indirectly, the decision
making of the Company, including the content and dissemination of the various statements

that Plaintiff contends are materially incomplete and misleading.

 

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65. Each of the Individual Defendants was provided with or had unlimited access
to copies of the Proxy Statement and other statements alleged by Plaintiff to be misleading
prior to and/or shortly after these statements were issued and had the ability to prevent the
issuance of the statements or cause the statements to be corrected.

66. In particular, each of the Individual Defendants had direct and supervisory
involvement in the day-to-day operations of the Company, and, therefore, is presumed to
have had the power to control or influence the particular transactions giving rise to the
Exchange Act violations alleged herein, and exercised the same. The Proxy Statement at
issue contains the unanimous recommendation of each of the Individual Defendants to
approve the Proposed Transaction. They were thus directly involved in preparing this
document.

67. In addition, as the Proxy Statement sets forth at length, and as described
herein, the Individual Defendants were involved in negotiating, reviewing and approving
the Merger Agreement. The Proxy Statement purports to describe the various issues and
information that the Individual Defendants reviewed and considered. The Individual
Defendants participated in drafting and/or gave their input on the content of those
descriptions.

68. By virtue of the foregoing, the Individual Defendants have violated Section
20(a) of the Exchange Act.

69. As set forth above, the Individual Defendants had the ability to exercise
control over and did control a person or persons who have each violated Section 14(a) and

Rule 14a-9 by their acts and omissions as alleged herein. By virtue of their positions as

 

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controlling persons, these Defendants are liable pursuant to Section 20(a) of the Exchange
Act. As a direct and proximate result of Individual Defendants’ conduct, Plaintiff will be
irreparably harmed.

70. Plaintiff and the Class have no adequate remedy at law. Only through the
exercise of this Court’s equitable powers can Plaintiff and the Class be fully protected from
the immediate and irreparable injury that Defendants’ actions threaten to inflict.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for judgment and relief as follows:

A. Declaring that this action is properly maintainable as a Class Action and
certifying Plaintiff as Class Representative and his counsel as Class Counsel;

B. Enjoining Defendants and all persons acting in concert with them from
proceeding with the shareholder vote on the Proposed Transaction or consummating the
Proposed Transaction, unless and until the Company discloses the material information
discussed above which has been omitted from the Proxy Statement;

C. Directing the Defendants to account to Plaintiff and the Class for all damages
sustained as a result of their wrongdoing;

D. Awarding Plaintiff the costs and disbursements of this action, including
reasonable attorneys’ and expert fees and expenses;

E. Granting such other and further relief as this Court may deem just and proper.

 

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JURY DEMAND

Plaintiff demands a trial by jury on all issues so triable.

DATED: September 27, 2017 Respectfully submitted,
WARD BLACK LAW
By: /s/Janet Ward Black
OF COUNSEL Janet Ward Black

NC Bar No. 12869
MONTEVERDE & ASSOCIATES PC _ Nancy Meyers

 

Juan E. Monteverde NC Bar No. 23339
The Empire State Building 208 West Wendover Avenue
350 Fifth Avenue, Suite 4405 Greensboro, NC 27401
New York, NY 10118 Tel.: (336) 510-2014
Tel.: (212) 971-1341 Fax: (336) 510-2181
Fax: (212) 202-7880 jwblack@wardblacklaw.com
Email: jmonteverde@monteverdelaw.com

Counsel for Plaintiff
Counsel for Plaintiff

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